Case 1:16-cv-25259-RNS Document 20 Entered on FLSD Docket 02/14/2017 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  ROCIO ASUNCION CARRASCO,

          Plaintiff,

  v.                                                     CASE NO. 1:16-cv-25259-RNS

  EXPERIAN INFORMATION SOLUTIONS, INC.,
  TRANSUNION, LLC, and AMERICAN HONDA
  FINANCE CORPORATION,

        Defendants.
  _________________________________________/

                             NOTICE OF PENDING SETTLEMENT

          Defendant, AMERICAN HONDA FINANCE CORPORATION, by and through its

  undersigned counsel, hereby submits this Notice of Pending Settlement and states that Plaintiff

  and Defendant have reached a settlement with regard to this case and are presently drafting,

  finalizing, and executing the settlement and dismissal documents. Upon execution of the same,

  the parties will file the appropriate dismissal documents with the Court.




                                                    Respectfully submitted,


                                                    /s/R. Carter Burgess
                                                    R. Carter Burgess, Esq.
                                                    Florida Bar No. 058298
                                                    10407 Centurion Parkway, N., Suite 200
                                                    Jacksonville, FL 32256
                                                    (904) 224-4498 (telephone)
                                                    (904) 212-1828 (facsimile)
                                                    cburgess@mcglinchey.com




  1239535.1
Case 1:16-cv-25259-RNS Document 20 Entered on FLSD Docket 02/14/2017 Page 2 of 2




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been

  filed via the CM/ECF system on this 14th day of February, 2017.


                                             /s/R. Carter Burgess___
                                                     Attorney




  1239535.1
